      Case 2:98-cr-00069-WHA-SRW Document 501 Filed 09/09/05 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                        )

vs.                                             )   CR. NO. 2:98cr069-A
                                                    (Civil Action No. 2:00cv1328-A)
ERVIN HOLLOWAY                                  )


                                            ORDER

       Following remand from the Eleventh Circuit Court of Appeals (Holloway v. United

States, No. 04-12957), this case is now before the court on the Recommendation of the

Magistrate Judge entered on May 6, 2005 (Doc. #489), the objection to that Recommendation

(Doc. #490), the Supplemental Recommendation of the Magistrate Judge (Doc. #493), and the

objection filed to the Supplemental Recommendation (Doc. #500).

       After an independent evaluation and de novo review, the court finds Holloway’s

objections to be without merit, and they are hereby overruled. The court adopts the

Recommendation of the Magistrate Judge (Doc. #489) and the Supplemental Recommendation

of the Magistrate Judge (Doc. #493), and it is hereby

       ORDERED that this 28 U.S.C. § 2255 motion is DENIED. Final Judgment will be

entered accordingly.

       DONE this 9th day of September, 2005.



                                             /s/ W. Harold Albritton
                                             W. HAROLD ALBRITTON
                                             SENIOR UNITED STATES DISTRICT JUDGE
